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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                    DIVISION

  CHRISTOPHER MUNSON,
  on behalf of himself and on behalf
  all others similarly situated,

         Plaintiff,

  v.                                            CASE NO.: 8:18-cv-01154-T-02JSS

  LGI HOMES CORPORATE, LLC

        Defendant.
  ___________________________________/

             JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

         Plaintiff, CHRISTOPHER MUNSON, on behalf of himself and on behalf all

  others similarly situated, and Defendant, LGI HOMES CORPORATE, LLC, by and

  through their respective undersigned counsel, hereby stipulate to the dismissal of this

  matter with prejudice in accordance with Federal Rule of Civil Procedure 41(a), with

  each party to bear its own attorneys’ fees and costs.

         Dated this 20th day of December, 2018.

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